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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    :
UNITED STATES OF AMERICA            :
                                    :
v.                                  :              Criminal No.: 1:21-CR-00243-APM
                                    :
JOHN LOLOS                          :
                                    :
____________________________________:

               DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

       Defendant, John Lolos, by counsel, respectfully submits his Memorandum in Aid of

Sentencing.

       1. Background

       Mr. Lolos was arrested on January 9, 2021, pursuant to a criminal complaint charging him

with Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority in violation of 18 U.S.C. § 1752 (a)(1)(2)(3) and (4) and Violent Entry and Disorderly

Conduct on Capitol Grounds in violation of 40 U.S.C. 5104(e)(2)(D) and (G). The charges arose

from Mr. Lolos entering the United States Capitol building on January 6, 2021. (“January 6”)

Thereafter, he appeared for an initial appearance in Magistrate Court in the State of Washington

where the government did not seek pretrial detention. After two days in custody, Mr. Lolos was

released on his own recognizance subject to certain conditions which Mr. Lolos has continued to

abide by in toto. On March 23, 2021, The United States Attorney filed a four count information

charging Mr. Lolos with four different misdemeanors including the count to which he has entered

a plea of guilty and will be sentenced.
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         Mr. Lolos thereafter retained counsel who was directed by Mr. Lolos to seek to negotiate

a plea on Mr. Lolo’s behalf. It took some time for the Government to be in a position to offer

pleas in any of the January 6 cases but there is no question that Mr. Lolos almost immediately

sought to take responsibility for his actions and plead guilty. To that end, and as a predicate to

the beginning of plea negotiations, Mr. Lolos met with the Government and answered all questions

posed about his actions on January 6.               On August 4, 2021, Mr. Lolos appeared before this

Honorable Court and entered a guilty plea to Count Four of the criminal information charging him

with one count of Parading, Demonstrating, or Picketing in a Capitol Building in violation of 40

U.S.C. § 5104(C)(2)(G). The Court, after accepting the plea, did not change his conditions of

release and the government did not seek a modification of his bond. Pursuant to the conviction,

Mr. Lolos now faces a maximum prison term of six months and a maximum fine of $5,000

restitution, and a special assessment of $10.00. The United States Sentencing Guidelines do not

apply and Supervised Release is inapplicable.

         Mr. Lolos hereby requests that the Court sentence him to a term of probation with no

additional active incarceration. Mr. Lolos is fully prepared to pay restitution as agreed to by his

Plea Agreement in the amount of $500.00 plus a fine as ordered by the Court. It is submitted that

the requested sentence properly reflects the purposes of federal sentencing laws and is appropriate

in this case as is described below.

         2. Mr. Lolos’ Background and the Events of January 6.

         Mr. Lolos is 48 years old with no criminal record.1 Before January 6, like millions of other

American citizens, Mr. Lolos became a vocal supporter of then President Donald Trump. Mr.


1
  The PSR on pages 6 and 7 refer to an 11 year old harassment charge that was dismissed over 10 years ago. As such,
Mr. Lolos has no criminal record for purposes of this sentencing and the Government’s reliance on hearsay described
in an unverified Complaint filed in 2009 to say Mr. Lolos has a history of violence is grossly unfair. Mr. Lolos denied
in 2009 that he ever threatened the woman who made the Complaint and the case was eventually dismissed. Even

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Lolos was especially animated by claims of voter fraud which he believed was rampant in the

United States.        With that background, Mr. Lolos decided to come to Washington, DC, at the

express invitation of the then President, to hear speeches and protest the rampant voter fraud that

Mr. Lolos heard about on a daily basis after the 2020 presidential election. Mr. Lolos travelled

alone from Seattle, Washington to hear Mr. Trump’s speech and thereafter began to walk towards

the Capitol building, urged on by others who were leaving the scene of the speech and said they

were going to the Capitol to protest. There is no doubt that Mr. Lolos was upset about perceived

voter fraud and he followed the crowd as it made its way to the Capitol. Once there, Mr. Lolos

observed tear gas while on the West Capitol steps and he entered the Capitol, while carrying a

Trump flag and an American flag, through a broken window following numerous other protesters.

There is no allegation that Mr. Lolos broke the window. He then spoke to a police officer inside

the building and then entered the Crypt where he “waved his American flag and a Trump 2020

flag and chanted to protest alleged voter fraud.” (DE 25, ¶ 14)                 Lolos then decided to leave the

Capitol after law enforcement arrived and told him to leave. (DE 25, ¶ 15)                  Mr. Lolos then exited

the Capitol and yelled “They left! We did it!” He also waved his American and Trump 2020 flags.
                  2
(DE 25, ¶ 16)

         The factual recitation above represents the entirety of the offense conduct in this case.

While Mr. Lolos may have sent some texts that in retrospect plainly overstate his involvement in

the events of that day, it is clear that Mr. Lolos did not engage in “battle” or make any moves

towards the House or Senate chambers to interfere with the vote. Unlike many others, Mr. Lolos




the Complaint itself, which is a mere allegation, discloses that Mr. Lolos never touched the alleged victim. Mr. Lolos
engaged in no act of violence on January 6 which is much more illustrative to the Court as to his character and a lack
of propensity for violence.
2
  The Statement of Facts in this case and the Government’s Sentencing Memorandum do not state how long Mr.
Lolos was actually in the Capitol but it was a short period of time.

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was not dressed for battle at all as is shown by the photographs the Government has shown the

Court in its Sentencing Memorandum. Indeed, the best evidence of Mr. Lolos’ peaceful conduct

on January 6 is that he was never charged with any assault or obstruction of Congress. That is

because it never happened.

        As the Court evaluates Mr. Lolos’ conduct in comparison to others who have plead guilty

to this charge and may have been sentenced, there are numerous facts for the Court to consider

that make this a case where a sentence of no additional active incarceration is necessary. Mr. Lolos

did not engage in any pre-planning whatsoever as it relates to illegally entering the Capitol at any

time.   He came to Washington alone, was not dressed in any military garb, and was not

coordinating with anyone on January 6. He spent very little time inside the Capitol and committed

no act of vandalism or violence while he was on Capitol grounds or inside the Capitol. Mr. Lolos

did not enter any private offices or rooms in the House or the Senate much less the Senate gallery

or the House of Representatives. He did not physically attack any law enforcement personnel or

any other person.     He did not damage any property at the Capitol.           He has since made no

inflammatory statements on social media or otherwise glorifying the events of January 6 other than

the texts sent on January 6 which do not properly reflect his own actions on that date. He

immediately sought to resolve his case after he was arrested and has shown remorse for his actions

by entering one of the first pleas of guilty in this investigation thus accepting full responsibility for

his actions.

        Mr. Lolos has also received support from several of his friends and associates who wanted

to write to the Court. Mr. Fragasso describes Mr. Lolos as a “hard working man of integrity.

Ronald Williams describes him as a “great asset to his community never asking for anything in

return for his kindness and generosity.” Lynn Babick writes to tell the Court that she is a disabled



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veteran who has relied on Mr. Lolos for help when she needs it. Steve Totorice has known Mr.

Lolos for over 20 years and tells the Court that Mr. Lolos is “honest, reliable, respectful of

everyone and a hard worker trying to be a good man and businessman. He has never exhibited

any violence or broken any laws and is an all around good man.” (These letters are attached as

Exhibit 1 and are redacted as to personal identifiers.)

       Of course, Mr. Lolos has admitted by his plea that he illegally paraded, demonstrated or

picketed in the Capitol building. For that conduct, he is to be sentenced on November 19, 2021.

In fashioning a sentence, the Court must consider all of the factors set forth in 18 U.S.C § 3553

(a). Those factors are well known to the Court but the critical factors in this misdemeanor case

are (1) the “nature and circumstances of the offense and the history and characteristics of the

defendant”; (2) the need for the sentence to (A) reflect the seriousness of the offense, to promote

respect for the law and to provide just punishment for the offense; (B) to afford adequate deterrence

to criminal conduct; and (C) protecting the public from further crimes of the defendant. These

statutory dictates are to be considered along with the “need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar conduct.”

18 U.S.C. § 3553 (B)(6).

       Application of these principles to Mr. Lolos personally and to the facts of this case supports

the request that Mr. Lolos not be required to serve any additional term of active incarceration. Mr.

Lolos, other than an 11-year-old charge that was later dismissed, has had no prior involvement

with the law and has no prior record. Like thousands of others that day, Mr. Lolos joined a mob

that entered the Capitol. He is responsible for his own actions and took responsibility immediately

but the Court can take notice of the fact that thousands of other people entered the Capitol that day

as part of a riot. Unlike many others, Mr. Lolos committed no acts of violence that day and has



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agreed that he unlawfully demonstrated in the United States Capitol. There is no chance that Mr.

Lolos can commit this crime again and the incarceration he has already suffered, in addition to

adverse publicity3 surrounding his arrest will serve to reflect the seriousness of the offense, the

purpose of deterrence, to provide respect for the law and just punishment.

         Finally, the need for “unwarranted sentence disparities” is critical in this case.                         The

Government gets to decide who it wants to charge with felonies and who it charges with Class B

misdemeanors such as was deemed a sufficient charge in this case. The Government also gets to

suggest any lawful sentence that it deems appropriate in a particular case and clearly describes

those various recommendations in its Sentencing Memorandum. But those recommendations are

merely suggestions and the Courts in this district have imposed a wide variety of sentences from

probation to jail in these misdemeanor cases. The defense agrees with the Government when it

argues that some of the sentencing factors in this case “support a more lenient sentence” than the

requested 30 days. (DE 32, p. 11) This is certainly true and it is also correct that the Government

is not asking for the maximum sentence allowed under the law which the defendant appreciates.

The Government’s detailed list of sentences already imposed for misdemeanor convictions arising

from the events of January 6 include defendants who received no jail sentences and others who

were given various jail sentences. These sentences are all over the map but apparently driven by

individual Judges’ consideration of the relative complicity, remorsefulness and actions of many

different defendants engaged in roughly the same conduct. Just today Judge McFadden gave a

sentence of one month of probation, $500 restitution and a $4,000 fine to a defendant who engaged

in quite similar conduct to Mr. Lolos.                 United States v. Sean Cordon, 21-cr-0269-TNM.




3
 Certain media outlets published false stories that stated that Mr. Lolos had assaulted a police officer. This is
patently untrue.

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(Statement of Offense describing entering the Capitol through a broken window and leaving, DE

24)(Exhibit 2)

       While the Court has to review all of this information as to other sentences in context, in the

end what must be decided is what is the proper punishment for Mr. Lolos given his own conduct.

In this light, it bears repeating that Mr. Lolos immediately accepted responsibility for his actions

and cooperated with the Government before his plea was entered.          He committed no acts of

violence and damaged no property. For these actions he has earned his misdemeanor conviction

but there is no need or reason to add jail time to the consequences of these actions.

Dated: November 12, 2021                      JOHN LOLOS
                                              By Counsel


                                              _____/s/_______________________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 12, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to
all counsel of record.

                                              _________/s/_________________________
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